This is an application for leave to appeal from refusal of a writ of habeas corpus. Jackson v. Warden of Maryland House ofCorrection, 190 Md. 717, 60 A.2d 179, just decided.
Petitioner is imprisoned under sentence for life for rape. He alleges that he was illegally arrested without a warrant and held for two days before charges were placed against him and that the court erroneously admitted *Page 729 
evidence (not stated) "purporting to sustain" the accusations against him without "documentary proof". Even if he was illegally arrested and held, he did not thereby obtain absolution from punishment when lawfully indicted, tried and convicted. Davis v.Brady, Warden, 188 Md. 113, 51 A.2d 827; Edmondson v. Brady,188 Md. 96, 52 A.2d 96. Procedural details (not fundamental), including rulings on evidence, cannot be reviewed on habeas corpus. Olewiler v. Brady, 185 Md. 341, 344, 44 A.2d 807.
Application denied, without costs.